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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                          Case No. 18-cr-00520-SI-1
                                   8                    Plaintiff,
                                                                                            ORDER GRANTING MOTION FOR
                                   9             v.                                         EARLY TERMINATION OF
                                                                                            SUPERVISED RELEASE
                                  10     LEE P. ALEXANDER,
                                                                                            Re: Dkt. No. 4
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Defendant Lee P. Alexander has filed a motion for early termination of supervised release
                                  14   pursuant to 18 U.S.C. § 3583(e). Dkt. No. 4. The motion is set for a hearing on July 10, 2020.
                                  15   Pursuant to General Order Nos. 72-4 and 74, which generally limit in-court proceedings due to the
                                  16   coronavirus pandemic, the Court finds this matter appropriate for resolution on the papers and
                                  17   VACATES the hearing. See also Fed. R. Crim. P. 32.1(c)(2)(B)-(C) (hearing on modification to
                                  18   supervised release not required where the relief sought is favorable to the person and does not extend
                                  19   the term of supervised release, and where the government has received notice and has had reasonable
                                  20   opportunity to object and has not done so).
                                  21          Mr. Alexander is currently serving a three-year term of supervised release that began
                                  22   October 9, 2018. The government does not oppose his motion, nor does the U.S. Probation Officer.
                                  23   Dkt. No. 10. The Court has reviewed the papers filed in support of Mr. Alexander’s motion and “is
                                  24   satisfied that [early termination of supervised release] is warranted by the conduct of the defendant
                                  25   released and the interest of justice.” See 18 U.S.C. § 3583(e)(1). The Court commends Mr.
                                  26   Alexander on the progress he has made in addressing his substance abuse issues and in securing and
                                  27   maintaining employment.
                                  28          The Court hereby GRANTS the motion for early termination of supervised release and
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                                   1   ORDERS that Mr. Alexander’s supervised release be terminated forthwith.

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                                   3          IT IS SO ORDERED.

                                   4   Dated: June 25, 2020

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                                                                                    SUSAN ILLSTON
                                   6                                                United States District Judge
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Northern District of California
 United States District Court




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